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March 5, 2013

Hon. Charles A. Legge Via E-mail
JAMS

Two Embarcadero Center, Suite 1500

San Francisco, CA 94111

Re: In re Cathode Ray Tube (CRT) Antitrust Litigation
Case No: 07-5944-SC, MDL 1917
Document Related to All Direct Action Plaintiff Actions

Dear Judge Legge:

We write on behalf of the Direct Action Plaintiffs (;DAPs”) to submit the accompanying
proposed Order denying Defendants’ motion to dismiss the DAPs’ federal antitrust claims. As
defense counsel noted in their February 28, 2013 letter, the parties conferred but were unable
to agree on the form of the proposed Order.

At oral argument, the parties agreed that Judge Conti's Order of November 29, 2012
requires the denial of Defendants’ motion to dismiss the DAPs’ federal antitrust claims. Thus,
the DAPs submit a proposed order that simply denies Defendants’ motion in accordance with
Judge Conti’s Order.

In contrast, Defendants’ proposed Order is worded in a confusing fashion, contains
editorial characterizations of both side’s positions, and sets forth Judge Conti’s ruling incorrectly.
Critically, the last sentence of Defendants’ proposed Order reads: “It Is Hereby Ordered that the
Motion is Granted.” But, in fact, to be consistent with Judge Conti’s November 29, 2012 ruling,
the order should be that the motion is denied —- as Defendants acknowledge earlier in their
proposed Order.

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As such, the DAPs request that Your Honor adopt the DAPs’ proposed Order as the
Special Master’s Report and Recommendation on Defendants’ motion.

Respectfully submitted,

Mf Kin

William J. Blechman

On behalf of Direct Action Plaintiffs
and Counsel for Sears Roebuck & Co.
and Kmart Corporation

WIB:mb

Attachment

450423.1

KENNY NACHWALTER, PA.
